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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

 UNITED STATES OF AMERICA

 -vs-                                                           Case No. 8:04-cr-348-T-24 TGW

 TERRY L. SCAGLIONE

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                                             ORDER
         This cause comes before the Court on Defendant Scaglione’s Opposition to

 Government’s Notice of Intent to Offer Expert Testimony, which this Court construes as a

 motion to exclude testimony. (Doc. No. 189). The Government opposes this motion. (Doc. No.

 396).

 I. Background

         Defendant Scaglione is named in Count One (RICO conspiracy) and Count Four

 (conspiracy to commit extortion) in a four-count indictment charging six defendants with

 involvement in a RICO conspiracy and various Hobbs Act violations. (Doc. No. 231). The

 indictment alleges that: (1) co-Defendant Trucchio was a “soldier” in the Gambino Crime Family

 who was later elevated to “capo;” (2) Defendant Scaglione was a member Trucchio’s crew; and

 (3) the crew, which operated under the influence and control of the Gambino Crime Family,

 constituted a RICO enterprise.

 II. Motion to Exclude Testimony

         In this motion, Defendant Scaglione argues that the Court should exclude the testimony

 of Special Agent George Gabriel at trial. Gabriel will be offered as an expert on organized crime

 and La Cosa Nostra and, specifically, on the structure, nature, and membership of the Gambino
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  Crime Family. Defendant Scaglione argues that Gabriel’s testimony should be excluded,

  because (1) his testimony will not assist the trier of fact to understand the evidence or to

  determine the facts at issue; (2) his testimony does not meet the three reliability requirements for

  the admissibility of expert testimony under Federal Rule of Evidence 702; (3) his testimony

  should be excluded under Federal Rule of Evidence 401 because it is irrelevant and based on

  inadmissible hearsay; and (4) his testimony should be excluded under Federal Rule of Evidence

  403 because its probative value is outweighed by the prejudicial effect that it will have on the

  trier of fact. The Court rejects these arguments.

         The Court finds that Gabriel’s expert testimony meets the requirements for admissibility

  under Rule 7021, and it will assist the trier of fact. See U.S. v. Van Dorn, 925 F.2d 1331, 1338-

  39 (11th Cir. 1991)(affirming the district court’s decision to allow an expert to testify about the

  hierarchy of the Gambino Crime Family and to explain the role of each position in that

  hierarchy). Gabriel’s testimony is relevant, since it is the Government’s contention that all of the

  defendants are alleged to have connections to the Gambino Crime Family. While the source of

  Gabriel’s information includes other case agents, cooperating witnesses, and confidential

  informants, such does not mandate the exclusion of his testimony, since his purported testimony

  does not include testimonial hearsay.2 Furthermore, the probative value of Gabriel’s testimony

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      The Court notes that the Government contends that Gabriel’s
testimony will be similar to the testimony he gave in a Southern
District of Florida case in which he was admitted as an expert to
testify regarding the structure, nature, and membership of the Gambino
Crime Family.
     2
      The Government has submitted a transcript of Gabriel’s testimony
regarding the structure, nature, and membership of the Gambino Crime
Family in the Southern District of Florida case, and the Government
states that it anticipates that Gabriel’s testimony in the instant case
will be substantially similar to the testimony given in the Southern

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  will not be outweighed by the potential prejudicial effect it will have on the jury as long as

  evidence is introduced that allows a finding that Defendant Scaglione was affiliated with the

  Gambino Crime Family. See id. at 1339.

  III. Conclusion

         Accordingly, it is ORDERED AND ADJUDGED that Defendant Scaglione’s motion to

  exclude testimony (Doc. No. 189) is DENIED.

         DONE AND ORDERED at Tampa, Florida, this 26th day of May, 2006.




  Copies to: Counsel of Record




District of Florida case.               (Doc. No. 375, Attachments 1A, 1B)

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